Case 2:04-cv-02666-.]DB-dkv Document 52 Filed 08/18/05 Page 1 of 3 Page|D 54

IN THE UNITED s'rATEs DISTRICT CoURT F"‘ED B"" §§ m3-
FoR THE WESTERN DISTRICT oF TENNESSE `
WESTERN orvrsroN 1395 AUG '8 PH l+- 03

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TIG INSURANCE COMPANY, CLERK! U'Sl @§S'E'H§ST COUHT
W o §§ ":"‘"~4'. §‘,‘i.£.'f'¢i|>"i{l$
Plaintiff,
V. NO. 04-2666-13

MERRYLAND CHILD CARE AND DEVELOPMENT
CENTER, INC., a/k/a MERRYLAND KINDERGARTEN,
INC., a/k/a MERRYLAND KINDERGARTEN AND
DAY CARE CENTER, INC., et al.,

Defendants.

ORDER ON MOTION FOR ADMISSION PRO HAC VICE
Mr. Jeffrey A. Goldwater has moved to appear p_r_Q IE v_ic§ for plaintiff in this action.
Mr. Goldwater is licensed to practice law in the State of IIlinois and is a member in good
standing of the Bar with the Supreme Court of Illinois. For good cause shown, that motion is
granted It is hereby ordered that Jeffrey A. Goldsmith be admitted B @ v_ic_:§ and may
actively participate in this action before this court.

IT IS SO ORDERED.

J. A IEL BREEN
IT D STATES DISTRICT JUDGE

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DATE 0

 

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W`\th Rule 53 and/or 79(a) FHCP on x f g {2 -

 

UNIED TATES DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CV-02666 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

Walter L. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

1\/1emphis7 TN 38103

Jerry Stokes

LAW OFFICE OF JERRY STOKES
100 N. Main St.

Ste. 2601

1\/1emphis7 TN 38103

Diane Karp Ehrhart

BOLLINGER RUBERRY & GARVEY
500 West Madison Street

Ste. 2300

Chicago, IL 60661--251

ReX L. Brasher

BROWN BRASHER & Sl\/HTH
5100 Poplar Avenue

Ste. 25 1 5

1\/1emphis7 TN 38137

David A. McLaughlin

COCHRAN CHERRY GIVENS SMITH & BOLTON
One Commerce Square

Ste. 2600

1\/1emphis7 TN 38103

J ames F. Horner

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

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Craig V. Morton
MORTON & GERMANY
200 Jefferson Ave.

Ste. 725

1\/1emphis7 TN 38103

Valerie T. Corder

LAW OFFICE OF VALERIE T. CORDER
200 Jefferson

Ste. 725

1\/1emphis7 TN 38103

Gregory W. O'Neal
BRATTON & O'NEAL
675 Oakleaf Offlce Ln.
Ste. 200

1\/1emphis7 TN 38117

Beth Brooks

BROOKS LAW FIRM

1 19 Racine

1\/1emphis7 TN 38111--089

Jeffrey A. Goldwater

BOLLINGER RUBERRY & GARVEY
500 West Madison Street

Ste. 2300

Chicago, IL 60661

Honorable J. Breen
US DISTRICT COURT

